                                        Case 2:20-ap-01048-BB           Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45    Desc
                                                                        Main Document    Page 1 of 12


                                         1   FELIX T. WOO (SBN 208107)
                                             fwoo@ftwlawgroup.com
                                         2   FTW LAW GROUP
                                             601 South Figueroa Street, Suite 4050
                                         3   Los Angeles, California 90017
                                             Telephone:    (213) 335-3960
                                         4   Facsimile:    (213) 344-4498

                                         5   Special Counsel for Chapter 7 Trustee
                                             CAROLYN DYE
                                         6

                                         7
                                                                           UNITED STATES BANKRUPTCY COURT
                                         8
                                                            CENTRAL DISTRICT OF CALIFORNIA- LOS ANGELES DIVISION
                                         9
                                        10   In re:                                           Chapter 7
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11   SHAOQIANG CHEN,                                  Bankr. Case No. 2:19-bk-12936-BB
   LOS ANGELES, CALIFORNIA 90017




                                        12                    Debtor.                         Adv. No.:
         FTW LAW GROUP

          (213) 335-3960




                                        13                                                    TRUSTEE’S COMPLAINT FOR:

                                        14   CAROLYN DYE, solely in her capacity as the       (1) AVOIDANCE OF ACTUAL
                                             Chapter 7 Trustee for the estate of Shaoqiang    FRAUDULENT TRANSFER UNDER 11
                                        15   Chen,                                            U.S.C. § 544 AND CALIFORNIA LAW

                                        16                    Plaintiff,                      (2) AVOIDANCE OF CONSTRUCTIVE
                                                                                              FRAUDULENT TRANSFER UNDER 11
                                        17                                                    U.S.C. § 544 AND CALIFORNIA LAW
                                                      vs.
                                        18                                                    (3) RECOVERY OF AVOIDED
                                             SHAOQIANG CHEN, an individual, and BIN           TRANSFER (11 U.S.C. § 550(a))
                                        19   WANG, an individual,
                                                                                              (4) PRESERVATION OF AVOIDED
                                        20                    Defendants.                     TRANSFER (11 U.S.C. § 551)

                                        21

                                        22

                                        23

                                        24

                                        25

                                        26

                                        27

                                        28
                                        Case 2:20-ap-01048-BB        Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                  Desc
                                                                     Main Document    Page 2 of 12


                                         1           Plaintiff Carolyn Dye, solely in her capacity as the Chapter 7 Trustee (“Plaintiff” or

                                         2   “Trustee”) for the bankruptcy estate of debtor Shaoqiang Chen, arising out of Bankr. Case No.

                                         3   2:19-bk-12936-BB (the “Bankruptcy Case”), alleges as follows for an Adversary Proceeding

                                         4   action against defendants Shaoqiang Chen, the debtor in the Bankruptcy Case, and Bin Wang,

                                         5   Mr. Chen’s ex-wife, for their fraudulent conveyance of an asset that belonged to Mr. Chen’s

                                         6   bankruptcy estate.

                                         7           1.     This action is brought to unwind and declare void the fraudulent transfer of an

                                         8   asset by Defendants with the intent to frustrate the eventual collection efforts of Debtor’s

                                         9   creditors.
                                        10           2.     This adversary proceeding is brought under Rules 7001(1) and (2) of the Federal
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11   Rules of Bankruptcy Procedure, 11 U.S.C. §§ 105(a), 541(a), 544(b), 546(a), 548(a), 550(a) and
   LOS ANGELES, CALIFORNIA 90017




                                        12   551, and the California Code of Civil Procedure and California Civil Code.
         FTW LAW GROUP

          (213) 335-3960




                                        13           3.     This Court has jurisdiction over this adversary proceeding under 28 U.S. C. §

                                        14   1334(a).

                                        15           4.     Venue is proper in this Court pursuant to 28 U.S.C. § 149 as this adversary

                                        16   proceeding arises under and is related to a pending Bankruptcy Case in this Court.

                                        17                                                PARTIES

                                        18           5.     Plaintiff is the duly appointed, acting and qualified Chapter 7 Trustee for the

                                        19   Bankruptcy Case.
                                        20           6.     The Debtor is an individual who commenced the Bankruptcy Court in this Court.

                                        21           7.     Plaintiff is informed and believes and, on that basis, alleges that defendant Bin

                                        22   Wang is the Debtor’s ex-wife, and who resides in Los Angeles County..

                                        23           8.     Plaintiff is informed and believes, and, on that basis alleges, that at all material

                                        24   times, the named Defendants and DOES 1-10 were the alter egos, agents, co-conspirators,

                                        25   employees, officers, principals, or representatives of each other, acted in the course and scope of

                                        26   such relationships during the events alleged herein and/or acted in concert with or on behalf of

                                        27   each other in committing the wrongful acts alleged herein.

                                        28
                                                                                              -1-
                                        Case 2:20-ap-01048-BB        Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                 Desc
                                                                     Main Document    Page 3 of 12


                                         1                                    THE ARCADIA PROPERTY

                                         2          9.      Plaintiff is informed and believes, and, on that basis alleges, that Debtor and his

                                         3   ex-wife, Ms. Wang, acquired the real property located at 1221 S. 1st Avenue, Arcadia, California

                                         4   91106 (the “Arcadia Property”) on April 8, 2004. Attached as Exhibit A is a true and correct

                                         5   copy of the Grant Deed dated April 8, 2004.

                                         6          10.     The Grant Deed states that Debtor and Ms. Wang acquired the property as

                                         7   “[h]usband and [w]ofe as [c]ommunity [p]roperty with the right of [s]urvivorship.” Id.

                                         8          11.     Plaintiff is informed and believes, and, on that basis alleges, that on July 16, 2009,

                                         9   the Los Angeles Superior Court issued a Judgment of Dissolution, prepared and submitted by Ms.
                                        10   Bin Wang, a true and correct copy of which is attached as Exhibit B.
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11          12.     The Judgment of Dissolution provides that Debtor’s and Ms. Wang’s marital status
   LOS ANGELES, CALIFORNIA 90017




                                        12   would be terminated as of November 8, 2009. In section 4.o. where property division is ordered,
         FTW LAW GROUP

          (213) 335-3960




                                        13   Ms. Wang checked off box 3, and stated “There are no community property assets and no

                                        14   community debts.”

                                        15          13.     Ms. Wang’s submission of the proposed Judgment of Dissolution to the Los

                                        16   Angeles Superior Court stating that there were no community property assets was false. At the

                                        17   time, Debtor and Ms. Wang still held title to the Arcadia Property as it had been granted to them.

                                        18   In other words, as community property.

                                        19          14.     Plaintiff is informed and believes, and, on that basis alleges, that on September 17,
                                        20   2013, Debtor recorded a Grant Deed for the Arcadia Property stating that “Shao Qian Chen and

                                        21   Bin Wang, Husband and Wife as Community Property with Right of Survivorship hereby grants

                                        22   to Bin Wang, an Unmarried Woman,” (which, of course, makes no sense and cannot be true).

                                        23   The Grant Deed further stated that “[t]his is a bonafide gift and the grantor received nothing in

                                        24   return, R&T 11911” confirming that Ms. Wang did not pay Debtor anything of value for this

                                        25   valuable real property (Plaintiff is informed and believes its fair market value exclusive of any

                                        26   legitimate liens is over $2 million). The Grant Deed also confirms that the Debtor and his ex-

                                        27   wife attempted to avoid tax consequences and other requirements by making it appear to be an

                                        28
                                                                                             -2-
                                        Case 2:20-ap-01048-BB        Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                 Desc
                                                                     Main Document    Page 4 of 12


                                         1   inter-family, inter-spousal transfer when, in fact, it was not given the Dissolution that took place

                                         2   more than four years before. A true and correct copy of this Grant Deed is attached as Exhibit C.

                                         3          15.     Plaintiff is informed and believes, and, on that basis alleges, that the Grant Deed

                                         4   was signed on August 13, 2012 (as shown by the notary’s stamp and signature of that date) but

                                         5   was not recorded until more than a year later in September 2013.

                                         6          16.     The timing of Debtor’s initial execution of his Grant Deed in Exhibit C and when

                                         7   it was recorded – both taking place years after Debtor divorced Ms. Wang – is illuminated by

                                         8   certain debts he incurred around the same time.

                                         9   THE DEBTOR INCURS DEBTS WITH CREDITOR QINGDAO YOULI BEGINNING IN
                                        10                         AUGUST 2012 THROUGH SEPTEMBER 12, 2013
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11          17.     Plaintiff is informed and believes, and, on that basis alleges, that one of the
   LOS ANGELES, CALIFORNIA 90017




                                        12   creditors in the Bankruptcy Case is Qingdao Youli Century Guarantee Co., Ltd., a Chinese
         FTW LAW GROUP

          (213) 335-3960




                                        13   company engaged in the financial services and lending guaranty business.

                                        14          18.     Plaintiff is informed and believes, and, on that basis alleges, that between August

                                        15   2012 and September 2013, Debtor, who had limited credit to personally borrow money to fund

                                        16   his business importing seafood from China into the United States, caused several other Chinese

                                        17   individuals and businesses to borrow sums or obtain lines of credit from various Chinese banks

                                        18   and financing companies on Debtor’s behalf. Debtor then asked Qingdao Youli to guarantee the

                                        19   repayment of those debts in the event of a default by the borrowers.
                                        20          19.     Plaintiff is informed and believes, and, on that basis alleges, that in each instance

                                        21   of these loans and guarantees, Debtor agreed to be jointly and severally liable on each of these

                                        22   business loans for which he would be secondarily liable, and to be indebted to Qingdao Youli in

                                        23   the event of any default by the borrowers under the loans, which would have triggered Qingdao

                                        24   Youli’s guaranty obligations to repay such loans on behalf of those borrowers. In turn, upon

                                        25   Qingdao Youli’s payment of its guaranty obligations under these defaulted loans, Debtor would

                                        26   be indebted to Qingdao Youli as a counter-guarantor.

                                        27          20.     Thus, in the same month he began contracting with Qingdao Youli and these third-

                                        28   party borrowers to fund his operations, Debtor executed a Grant Deed transferring the Arcadia
                                                                                             -3-
                                        Case 2:20-ap-01048-BB        Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                 Desc
                                                                     Main Document    Page 5 of 12


                                         1   Property to his ex-wife. However, Debtor did not record the Grant Deed at that time for reasons

                                         2   that would become clear a year later.

                                         3          21.     Plaintiff is informed and believes, and, on that basis alleges, that in August 2013,

                                         4   the borrowers who had obtained a line of credit in August 2012 for 10 million RMB

                                         5   (approximately $1.65 million) began to experience financial challenges and would soon default

                                         6   on that line of credit, a fact known to Debtor. As a result of that default, a few months later in

                                         7   December 2013, Qingdao Youli made a guarantee payment on Debtor’s behalf of approximately

                                         8   3.5 million RMB (approximately $576,000).

                                         9          22.     Plaintiff is informed and believes, and, on that basis alleges, that on September 12,
                                        10   2013, Debtor and several of his “nominee” borrowers entered into several other counter-guarantee
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11   contracts with Qingdao Youli for debts totaling over 8 million RMB (approximately $1.3
   LOS ANGELES, CALIFORNIA 90017




                                        12   million).
         FTW LAW GROUP

          (213) 335-3960




                                        13          23.     Plaintiff is informed and believes, and, on that basis alleges, that a few days later,

                                        14   on September 17, 2013, Debtor finally recorded the Grant Deed he and Ms. Wang had signed in

                                        15   August 2012.

                                        16          24.     Thus, in August 2013, after he realized that his companies would likely default on

                                        17   the line of credit for which he would owe Qingdao Youli counter-guarantee payments, and after

                                        18   he entered into a series of additional debts on September 12, 2013 (that by the contracts’ terms

                                        19   would not be due until early 2014), Debtor went ahead and put out of reach his most substantial
                                        20   asset in the United States – the Arcadia Property – for no consideration to his ex-wife.

                                        21          25.     Plaintiff is informed and believes, and, on that basis alleges, that this scheme to

                                        22   transfer the Arcadia Property to his ex-wife Ms. Wang was a sham because at the time he

                                        23   executed the Grant Deed, and later had it recorded, the Debtor was married to Yiqun Ren, who he

                                        24   discloses as his spouse in this Bankruptcy Case. Moreover, Ms. Ren was also a counter-guarantor

                                        25   to Qingdao Youli on the various loans and lines of credit described above. It is not reasonable

                                        26   that when he had re-married and had a new wife, Ms. Ren, Debtor would grant his most valuable

                                        27   asset – the Arcadia Property – to his ex-wife.

                                        28
                                                                                              -4-
                                        Case 2:20-ap-01048-BB         Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                Desc
                                                                      Main Document    Page 6 of 12


                                         1           26.     Moreover, Ms. Wang omitted the Arcadia Property from the Judgment of

                                         2   Dissolution filed in 2009, which means Debtor still retained a community property interest in it,

                                         3   and that property should be recaptured and retained for the benefit of Debtor’s creditors in this

                                         4   case.

                                         5                                     FIRST CLAIM FOR RELIEF

                                         6     (AVOIDANCE OF INTENTIONAL FRAUDULENT TRANSFER (11 U.S.C. § 544 and

                                         7                             CALIFORNIA CIVIL CODE § 3439, et seq.)

                                         8           27.     Plaintiff realleges and incorporates the foregoing allegations as though fully set

                                         9   forth herein.
                                        10           28.     Debtor and Ms. Wang made the transfer of the Arcadia Property with the actual
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11   intent to hinder, delay or defraud creditors, including Qingdao Youli.
   LOS ANGELES, CALIFORNIA 90017




                                        12           29.     Debtor admittedly did not obtain any consideration for transferring the Arcadia
         FTW LAW GROUP

          (213) 335-3960




                                        13   Property to his ex-wife, let alone anything remotely approaching the reasonable value of the asset.

                                        14           30.     Plaintiff is informed and believes, and, based thereon alleges, that Ms. Wang

                                        15   continues to own the Arcadia Property, and has attempted to list it for sale and for rent.

                                        16           31.     Plaintiff seeks the Court’s judgment under 11 U.S.C. § 544, which permits the

                                        17   Trustee to rely on any applicable law in seeking to void fraudulent transfers.

                                        18           32.     Here, Debtor and Ms. Wang hid the ownership of the property when they divorced

                                        19   in 2009, and later, at a time he incurred substantial debts to Qingdao Youli, they executed a Grant
                                        20   Deed designed to put that asset out of the reach of Debtor or his new wife Ms. Ren by giving it to

                                        21   Ms. Wang.

                                        22           33.     Debtor filed the Chapter 7 Bankruptcy Case on March 18, 2019. Plaintiff asserts

                                        23   that she, and also creditor Qingdao Youli, were unaware of the existence of Debtor’s interest in

                                        24   the Arcadia Property until this “no asset Chapter 7” bankruptcy was initiated, at which time the

                                        25   undersigned counsel, who separately represents Qingdao Youli in a stayed action in this district

                                        26   (Case No. 18-cv-02762-SJO (SSx)) undertook an investigation of Debtor to assess the

                                        27   truthfulness of his disclosures in the Bankruptcy Case and based on his counsel’s representation

                                        28   that Debtor had informed him he owned little more than “a minivan” and some personal items.
                                                                                              -5-
                                        Case 2:20-ap-01048-BB         Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                Desc
                                                                      Main Document    Page 7 of 12


                                         1          34.      Plaintiff’s counsel’s investigation, commenced in early April 2019, led to the

                                         2   discovery of the divorce proceedings and the Grant Deed.

                                         3          35.      11 U.S.C. § 544 allows the Trustee to borrow other statutory recovery mechanisms

                                         4   to bring this claim, including California Civil Code § 3439, et seq.

                                         5          36.      Under California Civil Code § 3439.09, the statute of limitations to void a

                                         6   fraudulent transfer such as the transfer of the Arcadia Property is either four years from the date

                                         7   of the transfer, or, “not later than one year after the transfer or obligation was or could reasonably

                                         8   have been discovered by the claimant” as long as it is made “within seven years after the transfer

                                         9   was made.”
                                        10          37.      This Adversary Proceeding complaint is being made within the statute of
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11   limitations set forth in California Civil Code § 3439.09 as it is made within a year of the claimant
   LOS ANGELES, CALIFORNIA 90017




                                        12   (the Chapter 7 Trustee) acting based on the rights of a creditor, Qingdao Youli, who discovered
         FTW LAW GROUP

          (213) 335-3960




                                        13   the material facts underlying this complaint only after the Debtor suddenly filed an alleged “no

                                        14   asset” Chapter 7 proceeding on March 18, 2019. There was no reason, nor reasonable

                                        15   expectation, that a Chinese financial company creditor would have known of Debtor’s transfer of

                                        16   an asset to his ex-wife prior to even obtaining an enforceable judgment against him.

                                        17                                     FIRST CLAIM FOR RELIEF

                                        18    (AVOIDANCE OF CONSTRUCTIVE FRAUDULENT TRANSFER (11 U.S.C. § 544 and

                                        19                             CALIFORNIA CIVIL CODE § 3439, et seq.)
                                        20          38.      Plaintiff realleges and incorporates the foregoing allegations as though fully set

                                        21   forth herein.

                                        22          39.      Plaintiff is informed and believes, and, based thereon alleges, that Debtor’s

                                        23   transfer of the Arcadia Property was a transfer of the Debtor’s interest in that property.

                                        24          40.      Plaintiff is informed and believes, and, based thereon alleges, that the Debtor

                                        25   received less than the reasonably equivalent value in exchange for transferring the Arcadia

                                        26   Property.

                                        27

                                        28
                                                                                              -6-
                                        Case 2:20-ap-01048-BB           Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45              Desc
                                                                        Main Document    Page 8 of 12


                                         1           41.     Plaintiff is informed and believes, and, based thereon alleges, that at the time

                                         2   Debtor transferred the Arcadia Property, the Debtor was either insolvent or became insolvent as a

                                         3   result of that transfer.

                                         4           42.     Plaintiff is informed and believes, and, based thereon alleges, that at the time

                                         5   Debtor transferred the Arcadia Property, the Debtor intended to (and did in fact) incur personal

                                         6   debts beyond his ability to pay those debts as they became due.

                                         7           43.     Plaintiff seeks the Court’s judgment under 11 U.S.C. § 544, which permits the

                                         8   Trustee to rely on any applicable law in seeking to void fraudulent transfers. 11 U.S.C. § 544

                                         9   allows the Trustee to borrow other statutory recovery mechanisms to bring this claim, including
                                        10   California Civil Code § 3439, et seq.
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11           44.     Plaintiff seeks the Court’s judgment under 11 U.S.C. § 544, which permits the
   LOS ANGELES, CALIFORNIA 90017




                                        12   Trustee to rely on any applicable law in seeking to void fraudulent transfers.
         FTW LAW GROUP

          (213) 335-3960




                                        13           45.     This Adversary Proceeding complaint is being made within the statute of

                                        14   limitations set forth in California Civil Code § 3439.09 as it is made within a year of the claimant

                                        15   (the Chapter 7 Trustee) acting based on the rights of a creditor, Qingdao Youli, who discovered

                                        16   the material facts underlying this complaint only after the Debtor suddenly filed an alleged “no

                                        17   asset” Chapter 7 proceeding on March 18, 2019. There was no reason, nor reasonable

                                        18   expectation, that a Chinese financial company creditor would have known of Debtor’s transfer of

                                        19   an asset to his ex-wife prior to even obtaining an enforceable judgment against him.
                                        20                                     THIRD CLAIM FOR RELIEF

                                        21                   (RECOVERY OF AVOIDED TRANSFER (11 U.S.C. § 550(a)))

                                        22           46.     Plaintiff realleges and incorporates the foregoing allegations as though fully set

                                        23   forth herein.

                                        24           47.     Plaintiff is informed and believes, and, based thereon alleges, that the Debtor’s

                                        25   transfer of the Arcadia Property is avoidable pursuant to 11 U.S.C. § 544 and California Civil

                                        26   Code § 3439, et seq.

                                        27           48.     Plaintiff seeks the Court’s judgment declaring the avoided transfer is recoverable

                                        28   from the defendant Ms. Wang under 11 U.S.C. § 550(a).
                                                                                              -7-
                                        Case 2:20-ap-01048-BB          Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45               Desc
                                                                       Main Document    Page 9 of 12


                                         1                                    FOURTH CLAIM FOR RELIEF

                                         2                   (PRESERVATION OF AVOIDED TRANSFER (11 U.S.C. § 551))

                                         3           49.     Plaintiff realleges and incorporates the foregoing allegations as though fully set

                                         4   forth herein.

                                         5           50.     Plaintiff is informed and believes, and, based thereon alleges, that the Debtor’s

                                         6   transfer of the Arcadia Property is avoidable pursuant to 11 U.S.C. § 544 and California Civil

                                         7   Code § 3439, et seq.

                                         8           51.     Plaintiff is informed and believes, and, based thereon alleges, that the Debtor’s

                                         9   interest in the Arcadia Property is property of the estate under 11 U.S.C. §§ 541(a)(3) and (a)(4).
                                        10           52.     Plaintiff seeks the Court’s judgment declaring the avoided transfer are preserved
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11   for the benefit of the estate.
   LOS ANGELES, CALIFORNIA 90017




                                        12                                         PRAYER FOR RELIEF
         FTW LAW GROUP

          (213) 335-3960




                                        13           Plaintiff prays for relief as follows:

                                        14           1.      On the First and Second Claims for Relief, judgment in favor of Plaintiff for

                                        15   avoidance of the Debtor’s transfer of the Arcadia Property;

                                        16           2.      On the Third Claim for Relief, judgment in favor of Plaintiff for recovery from

                                        17   Defendants of the avoided Property;

                                        18           3.      On the Fourth Claim for Relief, judgment in favor of Plaintiff for preservation of

                                        19   the Debtor’s interest in the Arcadia Property that is avoided.
                                        20           4.      For prejudgment interest as allowable by law.

                                        21           5.      For costs of suit and attorneys’ fees as allowable by law.

                                        22           6.      For such other relief as the Court deems proper.

                                        23

                                        24

                                        25

                                        26

                                        27

                                        28
                                                                                              -8-
                                        Case 2:20-ap-01048-BB   Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45         Desc
                                                                Main Document    Page 10 of 12


                                         1   Dated: March 4, 2020                    FTW LAW GROUP

                                         2

                                         3
                                                                                     By:
                                         4                                                 Special Counsel for Chapter 7 Trustee
                                                                                           Carolyn Dye
                                         5

                                         6

                                         7

                                         8

                                         9
                                        10
601 SOUTH FIGUEROA STREET, SUITE 4050




                                        11
   LOS ANGELES, CALIFORNIA 90017




                                        12
         FTW LAW GROUP

          (213) 335-3960




                                        13

                                        14

                                        15

                                        16

                                        17

                                        18

                                        19
                                        20

                                        21

                                        22

                                        23

                                        24

                                        25

                                        26

                                        27

                                        28
                                                                                  -9-
         Case 2:20-ap-01048-BB                        Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                                     Desc
                                                      Main Document    Page 11 of 12
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
 Carolyn Dye, solely in her capacity as the Chapter 7 Trustee for                 Shaoqiang Chen, an individual, and Bin Wang, an
 the estate of Shaoqiang Chen                                                     individual


ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Felix T. Woo, FTW Law Group
 601 South Figueroa Street, Suite 4050
 Los Angeles, CA 90017

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □X Debtor     □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□X Trustee                                         □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 The Chapter 7 Trustee seeks to avoid, preserve and recover the debtor's assets that were the subject of fraudulent transfers under
 federal law (11 USC section 544, 550(a) and 551) and state law.



                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□                                                                               □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                          sections 544, 550(a) and 551
1-4 14-Recovery of money/property - other                                          64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                   72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□X Check if this case involves a substantive issue of state law                 □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
       Case 2:20-ap-01048-BB               Doc 1 Filed 03/04/20 Entered 03/04/20 12:03:45                              Desc
                                           Main Document    Page 12 of 12
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
 Shaoqiang Chen
                                                                           2:19-bk-12936-BB
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
  Central District of California                                             Los Angeles                 Hon. Sheri Bluebond
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 March 4, 2020                                                               Felix T. Woo, FTW Law Group




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
